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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )
                                       )      4:04CR3152
                        Plaintiff,     )
                                       )
                          vs.          )
                                       )     ORDER OF DISMISSAL
SIMON OTERO,                           )
                                       )
                                       )
                       Defendant.      )

       On motion of the government, filing 55, and pursuant to a plea agreement in
the case captioned United States v. Simon Otero, 4:04CR3157, Counts 2 and 3 of
the Superseding Indictment are hereby dismissed.


      July 5, 2005.                          BY THE COURT:

                                             s/ Richard G. Kopf
                                             United States District Judge
